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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

                                                          -X
  STEVEN COOPER,

                               Plaintiff,
                                                                          MEMORANDUM & ORDER
                -against-
                                                                            17-CV-1517(NGG)(RLM)

  THE CITY OF NEW YORK;POLICE LIEUTENANT
  THOMAS JACOBS;POLICE OFFICER JESSICA
  SCHRELL SHIELD NO.26482;POLICE DEPARTMENT
  SERGEANT BRENDAN RYAN;NEW YORK POLICE
  OFFICERS JOHN DOES 1-10 the identity of whom is
  presently unknown,in their individual and official capacities
  as New York City Police Officers; and DANIEL 0'CONNOR,

                                Defendants.
                                                           -X



  NICHOLAS G. GARAUFIS,United States District Judge.

         Plaintiff Steven Cooper brings this action pursuant to 42 U.S.C. § 1983("§ 1983") and

  certain state tort laws against Defendants Police Officer Jessica Schrell, Police Sergeant Brendan

  Ryan,Police Lieutenant Thomas Jacobs, unknown John Doe Police Officers 1-10, and Daniel
  O'Connor(collectively the "Individual Defendants"), and the City ofNew York("the City").

 (Am. Compl.("FAC")(Dkt. 36).)

         Before the court are separate motions to dismiss Plaintiffs FAC by the City ofNew

  York, Ryan, and Schrell(the "City Defendants")(See City ofNew York Notice of Mot. to

  Dismiss ("City Mot.")(Dkt. 56)); Jacobs(Jacobs Notice of Mot. to Dismiss("Jacobs Mot.")

  (Dkt. 54)); and O'Connor(O'Connor Motion To Dismiss("O Connor Mot.")(Dkt. 55). For the
  reasons stated below,the City of New York's motion is GRANTED,Jacobs's motion is

  GRANTED,and O'Connor's motion is GRANTED.
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  I.     BACKGROUND

         A.      Facts


         The court takes the following statement offacts largely from Plaintiffs FAC,the well-

  pleaded allegations of which the court generally accepts as true for purposes ofthe motions to

  dismiss.     N.Y. Pet Welfare Ass'n v. City ofNew York. 850 F.3d 79, 86(2d Cir. 2017).

         Plaintiff alleges that on March 20,2016, he was hit by a vehicle driven by Jacobs as he

  was crossing the street in Brooklyn, New York. (FAC Iflf 20-21.) Jacobs is a New York Police

  Department("NYPD")officer, though at the time he did not "display anything that would

  identify him as a law enforcement officer."(FAC f 25.) O'Connor, a private citizen, and at least

 three other individuals—all of whom are NYPD officers—^were passengers in Jacobs's vehicle.

  Qd. K 21.) After Plaintiff was struck by the vehicle, Jacobs and O'Connor exited the vehicle and

 proceeded to chased Plaintiff as he attempted to flee the location. (Id.^ 22.) O'Connor struck

 Plaintiff on the head,choked him, and grabbed and pushed him into the middle ofthe road. (Id

 1[24.) Jacobsjoined O'Connor in "assaulting and battering" Plaintiff. (141125.) Plaintiff

 alleges that he felt a jSrearm on Jacobs's person but "Jacobs concealed the fact that he[was] a

 law enforcement officer and did not display anything that would identify him as a law

 enforcement officer." Qd) Plaintifffeared for his life and "in an attempt to distract Jacobs, took

 a defensive measure by flicking the sunglasses off of Jacobs," and ran away. (Id K 26.)

 O'Connor and Jacobs chased Plaintiff and, at one point, Jacobs lost his balance and "tumbled

 over and fell on the sidewalk face-first." (Id UK 27-28.)

        Plaintiff alleges that he "initially escaped" and called 911 for help. (Id K 29.) Plaintiff

 told the 911 operator that he had "just been assaulted by two men and that he needed help." (Id)

 O'Connor and Jacobs caught up to Plaintiff, at which point they attempted to end the 911 call
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  and physically battered Jacobs; however,they were unsuccessful in ending the call and thereafter
  fled the scene. (Id.)

         John Doe Police Officer #1 and Defendant Schrell arrived shortly thereafter. (Id. ^ 30.)
  Plaintiff avers that these Officers "were informed by a bystander, and a witness to the events

  described above,that [Plaintiff] had just[been] beaten badly by Jacobs and O'Connor." (Id ^
  34) Plaintiffthen "observed Jacobs displaying a badge to John Doe Police [0]fficer 1 and
  Schrell and the other Uniformed NYPD officers and heard Jacobs say to them 'I'm on the job.'"
 041136.)

         Upon learning that Jacobs was an NYPD Officer, Plaintiff told John Doe Police Sergeant
 2 that he wanted to go home and tend to his visible injuries, which he claims, were so severe that

 he could not see out of his eye. (Id_1f 38.) The NYPD officers at the scene told Plaintiff that he

 was not allowed to leave "because a police officer was involved" and took bim to the NYPD's

 90th precinct. (Id KK 39- 46.) Plaintiff wanted to retrieve his hat, which he had lost as he was

 running away from Jacobs and O'Connor, but the officers told him that he must go to the

 precinct and NYPD officers would locate the hat. (Id1[43.) Plaintiffclaims that "Jacobs took
 possession of Cooper's hat and continues his unlawful possession of Cooper's hat." (Id K 44.)
        Plaintiff sat at the 90th precinct for several hours while his right eye was bleeding. (Id
 1146.) He requested medical attention, which he never received. (Id. HH 46-49.) Plaintiff avers
 that Jacobs and the other John Doe police officers, instead of helping Plaintiff with his "visible

 injuries,""conspired to come up with a story to arrest" Plaintiff. (Id 150.) "After waiting
 approximately three hours, John Doe Police Sergeant 3 informed [Plaintiff] that he was under
 arrest and he was placed in a holding cell." (Id K 52.) "At approximately 10:00pm on March
 20,2016, almost 6 hours after being beaten,[Plaintiff] was formally arrested [by Schrell] and
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  fmger[pr]inted." (Id.     53-54.) On March 21, 2016,Plaintiff was released and given a desk

  appearance ticket charging him with assault in the third degree and ordering him to appear at

  court on April 25, 2016. (14.1155.)

         On March 23,2016,the New York Post wrote an article about the incident, in which

  Ryan published an allegedly false statement that Jacobs was punched in the face by Plaintiff

 causing bruising and swelling to Jacobs, which Plaintiffclaims was per se "false and

  defamatory." (Id K 56.)

         On April 25,2016, Cooper was arraigned under docket number 2016KN023559. He was

 charged with "[ajssault in the third degree,[c]riminal [m]ischiefin the fourth degree,[a]ttempted

 assault in the third degree, menacing in the third degree and pbijarassment in the second degree."

 (Id K 57.) Jacobs filed a supporting deposition with the criminal court that contained allegedly

 "false and peijurious allegations ...including that [Plaintiff] had puiportedly punched Jacobs in

 the face with a closed fist which caused injuries to Jacobs face and broke the sunglasses that

 Jacobs was wearing." (Id % 58.)

        Plaintiff alleges that "[djespite receiving evidence that completely exonerated [Plaintiff],

 the Kings County District Attorney continued the malicious prosecution of[Plaintiff] and

 continued to ignore the criminal acts committed by Jacobs and the other John Doe Police officers

 that were driving in the car that struck [Plaintiff]." (Id H 60.) The criminal case against Plaintiff

 was ultimately "dismissed on the merits" on June 20,2016. (Id If 61.)

        In March 2016, O'Connor was charged with assault, menacing, and harassment as a

 result ofthe physical altercation with Plaintiff. (Id If 62.) The court issued an order of

 protection, ordering O'Connor to stay away from Plaintiff. (Id) On November 21,2016,
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 "O'Connor was allowed to negotiate a plea of disorderly conduct and sealing ofthe record." (Id,

 ^ 63.) The order ofprotection remains in effect until November 20,2018. (Id ^ 64.)

         Plaintiff alleges that he has been "permanently physical[ly] injured" and suffers from

  emotional trauma as a result ofthe alleged battery committed by Jacobs and O'Connor. (Id

  65,68.) Specifically, Plaintiff's right eye was "badly damaged,""requiring a procedure of

  cataract extraction with int[r]aocular lens implantation." (Id   65-67.)

         B.      Procedural History

         Plaintifffiled his original complaint with this court on March 17, 2017. (Compl.

 (Dkt. 1).) On May 30,2017, Plaintiff sought leave ofthe court to amend his complaint.

 (Plaintiff May 30,2017, Ltr. Request for Leave to Amend Complaint,(Dkt. 26).) The court

  informed Plaintiffthat he was permitted to amend the Complaint as a matter of course pursuant

  to Federal Rule of Civil Procedure 15(a)(1). (May 31,2017, Order.) Plaintiff filed his amended

  complaint(the "FAC")on June 30,2017. (FAC.) On September 6,2017,the court granted all

  defendants leave following a pre-motion conference to dismiss Plaintiffs FAC. (Sept. 6,2017,

  Min. Entry.)

         Jacobs, O'Connor, and the City Defendants filed separate, fully briefed motions to

  dismiss. (See Jacobs Mot.; O'Connor Mot; City Mot.) The City Defendants move to dismiss all

  claims against them. (City Mem.in Supp. of Mot.("City of New York Mem.")(Dkt. 57).)

  Jacobs moves to dismiss all federal claims, as well as Plaintiffs state claim of libel. (Jacobs

  Mem.in Supp. of Mot("Jacobs Mem.")(Dkt. 54).) O'Connor moves to dismiss the federal claim

  brought against him and Plaintiffs prima facie tort and larceny claims. (O'Connor Mem.in

  Supp. of Mot.("O'Connor Mem.")(Dkt. 55).)
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  n.      LEGAL STANDARD

          A Rule 12(b)(6) motion tests the legal adequacy ofthe plaintiffs complaint. Patane v.

  Clark, 508 F.3d 106,112-13(2d Cir. 2007). To survive a Rule 12(b)(6) motion,the complaint

  must "contain sufficient factual matter, accepted as true, to 'state a claim to reliefthat is

  plausible on its face.'" Ashcroft v. lobal. 556 U.S. 662,678(2009)(quoting Bell Atl. Com,v.

 Twomblv,550 U.S. 544,570(2007)). "Threadbare recitals ofthe elements of a cause of action,

 supported by mere conclusory statements, do not suffice." Id

         When considering a motion to dismiss for failure to state a claim,the court must accept
 as true all allegations offact in the complaint and draw all reasonable inferences in favor ofthe

 plaintiff ATSI Commc'ns. Inc. v. Shaar Fund. Ltd.. 493 F.3d 87,98(2d Cir. 2007). "In

 determimng the adequacy ofthe complaint, the court may consider any written instrument

 attached to the complaint as an exhibit or incorporated in the complaint by reference, as well as

 documents upon which the complaint relies and which are integral to the complaint." Subaru

 Distribs. Corp. v. Subaru ofAm..Inc.. 425 F.3d 119,122(2d Cir. 2005).

 in.     DISCUSSION

         A.      Consideration of Extrinsic Documents

         When considering a Rule 12(b)(6) motion to dismiss, the court may consider only limited

 materials, including "the facts alleged in the complaint, documents attached to the complaint as

 exhibits, and documents incorporated by reference in the complaint." DiFolco v. MSNBC Cable

 L.L.C.. 622 F.3d 104, 111 (2d Cir. 2010). The court may also consider documents that are

 "integral" to the complaint,in that the complaint "relies heavily upon [their] terms and effect,"

 so long as these documents are undisputedly authentic and accurate. Id.(quoting Mangiafico v.

 Blumenthal. 471 F.3d 391, 398(2d Cir. 2006)). Additionally, the court may consider "public
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  records of which the court could take judicial notice." Mangiafico, 471 F.3d at 398;      Smart v.

  Goord,441 F, Supp. 2d 631,637(S.D.N.Y. 2006)("When ruling on a motion to dismiss, the
  Court may take judicial notice ofrecords and reports of administrative bodies, items in the record
  ofthe case, matters of general public record, and copies of documents attached to the

  complaint."). "When matters outside the pleadings are presented in response to a 12(b)(6)
  motion, a district court must either exclude the additional material and decide the motion on the
  complaint alone or convert the motion to one for summary judgment under Fed. R. Civ. P.
  56 and afford all parties the opportunity to present supporting material." Friedl v. City of New
  York. 210 F.3d 79, 83(2d Cir. 2000)(alteration adopted)(quotation marks omitted).
         If, on a motion to dismiss, the court must "rely on the extrinsic materials, the proper

  course is to convert the motion to a motion for summaryjudgment...,after providing notice to

  the parties and an opportunity to be heard." Nicosia v. Amazon.com. Inc.. 834 F.3d 220, 231 (2d
  Cir. 2016).

         Plaintiff argues that the court"must ignore" the exhibits attached to the City's motion to
  dismiss. (PI. Opp'n of Motion to Dismiss at 5 ("PI. Opp'n")(Dkt. 59).) In particular, Plaintiff
  objects to the City Defendant's use ofthe NYPD Complaint Report associated with Plaintiffs
  arrest(the "Complaint Report")(Complaint Report(Dkt. 58-2)); the NYPD Arrest Report
  associated with Plaintiff's arrest(the "Arrest Report")(Arrest Report(Dkt. 58-3)); excerpts from
  Plaintiffs 50-h hearing testimony (the "50-h testimony")(50-h testimony(Dkt. 58-4)); the Kings
  County Criminal Court Complaint(the "Criminal Court Complaint")(Criniinal Court Complaint
  (Dkt. 58-5)); and Plaintiffs Notice of Claim (the "Notice of Claim")(Notice of Claim(Dkt. 58-
  6)). Plaintiff argues that these documents are not incorporated by reference in the FAC,nor are
  they documents of which the court may take judicial notice. (PI. Opp'n at 5-6.)
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         First, the court takes judicial notice ofthe Arrest Report, Complaint Report, and the
  Cuminal Court Complaint. It is well established that these documents are matters of public
  record and, as such, the court may consider them on a motion to dismiss. See, e.g., Liang v. City

  ofNew York,No. lO-CV-3089(ENV),2013 WL 5366394, at *5(E.D.N.Y. Sept. 24,2013);
  Wims V. N.Y.C. Police Dep't. No. lO-CV-6128(PKC),2011 WL 2946369, at *2(S.D.N.Y. July
 20,2011)("[A] district court may rely on matters of public record in deciding a motion to
 dismiss under Rule 12(b)(6), including arrest reports, criminal complaints,indictments and
 criminal disposition data."(citation and internal quotation marks omitted)); Obilo v. Citv Univ.
 oftheCitvofN.Y.. No. Ol-CV-5118,2003 WL 1809471, at *4(E.D.N.Y. Apr. 7,
 2003)(incoiporating a police incident report and criminal complaint where the plaintiffs false
 arrest and malicious prosecution claims asserted that law enforcement improperly relied on
 "conspiratorial" allegations, which the court found was "an implicit reference" to allegations in
 the police report and criminal complaint); see also Blue Tree Hotels Inv. ICan.\ Ltd. v. Starwood

 Hotels & Resorts Worldwide,Inc.. 369 F.3d 212,217(2d Cir. 2004)("[Courts] may also look to
 public records ...in deciding a motion to dismiss."). Plaintiff himself makes numerous direct

 references to his Criminal Court Complaint throughout his Amended Complaint. (S^ FAC
 57-61.) Moreover,Plaintiff attaches to the FAC the supporting deposition of Jacobs, which

 cannot be understood without considering the Criminal Court Complaint. (Jacobs Dep.,(Dkt.
 36-2.)). See also Li v. Citv ofNew York.246 F. Supp. 3d 578,595(E.D.N.Y. 2017)("By
repeatedly referring to the cnmmal complaint, the Amended Complaint incorporates it by
reference.")

        The court also considers the Notice of Claim, as it is directly referenced in the FAC.

(FAC ^ 6.)^Inf1 Audiotext Network. Inc. v. Am. Tel. & Tel. Co.. 62 F.3d 69,72(2d Cir.


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  1995)(per curiam)("[T]he complaint is deemed to include any written instrument attached to it

  as an exhibit or any statements or documents incorporated in it by reference.")(alteration in

  original)(quoting Cortec Indus.. Inc. v. Sum Holding L.P.. 949 F.2d 42,47(2d Cir. 1991));
  Shahzad v. Cty. ofNassau. No. 13-CV-2268(SJF),2013 WL 6061650, at *6(E.D.N.Y. Nov. 14,

  2013)("The Notice of Claim is referenced in the Complaint..., and the court may

  take judicial notice ofit").

         The court will therefore consider the Complaint Report, the Arrest Report, the Criminal

  Court Complaint, and the Notice of Claim. In considering these records, the court considers

  them to establish "their existence and legal effect" not for the truth ofthe matters asserted.

  Twine v. Four Unknown N.Y. Police Officers. No. lO-CV-6622(DAB)(JLC), 2012 WL

 6184014, at *7(S.D.N.Y. Dec.l2, 2012), report and rec. adopted. 2013 WL 314447(Jan. 25,

 2013); see also Roth v. Jennings. 489 F.3d 499,509(2d Cir. 2007).

         By contrast, the court declines to consider the transcript of Plaintiffs 50-h hearing

 testimony on the instant motion to dismiss. Unlike arrest warrants and other police documents,

 50-h heariags are not matters ofpublic record. See Bissinser v. City of New York. No.06-CV-

 2325(WHP),2007 WL 2826756, at *2 n.l(S.D.N.Y. Sept. 24, 2007). The court may thus only

 consider the transcript ifthe complaint "relies heavily upon its terms and effect." S^ Difolco.

 622 F.3d at 111. Courts routinely consider 50-h transcripts at the motion to dismiss stage where

 "both parties have relied upon these extrinsic materials in their submissions." See, e.g.. Harlev

 V. City ofNew York. No. 14-CV-5452(PKC),2016 WL 552477, at *3(E.D.N.Y. Feb. 10,

 2016); Dellate v. Great Neck Union Free Sch. Dist. No. 09-CV-2567(AKT),2010 WL

 3924863, at *4(E.D.N.Y. Sept. 30,2010), afTd,448 F. App'x 164(2d Cir. 2012). Here,

 however,the text ofPlaintiffs complaint contains no mention ofthe 50-h transcript and there is
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  no reason to believe that Plaintiff relied on the transcript in filing the complaint. See Weaver v.

  City ofNew York. No. 13-CV-20(CBA),2014 WL 950041, at *4(E.D.N.Y. Mar. 11,2014);^

  also id. at *4(collecting cases). The court will therefore not consider Plaintiffs 50-h testimony

  in deciding the motions to dismiss. Sqq Friedl 210 F.3d at 83.

          B.     As to all Claims Asserted Against Sergeant Brendan Ryan

          Before addressing Plaintiffs claims against all defendants,the court will begin by

  addressing the federal claims asserted against Ryan.

         To sustain a § 1983 claim against a person in his or her individual capacity, a plaintiff

  must allege facts showing the individual's personal involvement in causing the harm alleged.

  See Wright v. Smith.21 F.3d 496, 501 (2d Cir. 1994). The City Defendants contend that

  Plaiatiff has failed to sufficiently plead facts that suggest Ryan was personally involved in any of

  the alleged constitutional violations. (City of New York Mem.at 12.) Plaintiffs opposition fails

  to address this argument at all. (See PI. Opp'n.)

         The only allegation Plaintiff makes as to Ryan in the FAC is iti connection with the New

  York Post article. Plaintiff alleges that Ryan "disseminated and published a false statement to

 the New York Post stating that Jacobs was punched in the face by Cooper causing bruising and

 swelling to Jacobs." (FAC ^ 56.) Plaintiff avers that Ryan's act of publishing a statement with

 the New York Post was in "furtherance of Defendants [cjonspiracy to deprive Cooper of his

 [cjonstitutional rights." (Id.) The court holds that this one allegation is insufficient to state a

 conspiracy claim against Ryan in his personal capacity. Ciambriello v. County ofNassau. 292

 F.3d 307, 325(2d Cir. 2002)(citation omitted)("[C]omplaints containing only conclusory,

 vague, or general allegations that the defendants have engaged in a conspiracy to deprive the

 plaintiff of his constitutional rights are properly dismissed; diffuse and expansive allegations are


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  insufficient, unless amplified by specific instances of misconduct."). Plaintiff fails to allege any
  facts that suggest that Ryan took part in a conspiracy to deprive Plaintiff of his constitutional

  rights.

            Because the sole allegation against Ryan is insufficient to suggest Ryan was involved in

  any ofthe alleged federal constitutional violations, the court dismisses Plaintiffs § 1983

  conspiracy claim and all other federal claims asserted against Ryan in his personal capacity.

            C.      Plaintiffs Excessive Force Claim

            Plaintiff asserts an excessive force claim under § 1983 against all defendants, except
  O'Connor. (Id.) The only facts alleged that apply to Plaintiffs excessive force claim stem from

  Plaintiffs physical altercation with Jacobs and O'Connor. Therefore, the court dismisses

  Plaintiffs excessive force as to all Individual Defendants except for Jacobs, and dismisses the

  claim as to Jacobs for the reasons provided below.^

            In order to state a claim under § 1983, a plaintiff must allege that he has been(1)

  deprived of a right, privilege or immunity secured by the Constitution or laws ofthe United

  States, and that(2)this deprivation was done under color oflaw. § 1983; accord Pitchell v.

 Callan, 13 F.3d 545, 547(2d Cir. 1994)(citing Parratt v. Tavlor. 451 U.S. 527,535 (1981)). It is

 well established that the "under-color-of-state-law element of§ 1983 excludes from its reach

 'merely private conduct, no matter how discriminatory or wrongful.'" Am. Mfrs, Mut. Tns. Cn

 V. Sullivan, 526 U.S. 40,50(1999)(quoting Blum v. Yaretskv. 457 U.S. 991, 1002(1982)). The

 Supreme Court has held that an individual acts under the color oflaw when he or she exercises




'Failure to allege facts conceming the personal involvement of any defendant is fatal to a plaintiffs claims under §
 1983. See Costello v. Citv ofBurlington. 632 F.3d 41,48-49(2d Cir. 20in (citing Wright. 21 F.3d at 501.') Here,
 although the FAC states that "as a result of defendants conduct described above. Cooper was subjected to excessive
 force and sustained serious physical injuries and emotional distress"(FAC If 78), it does not include any factual
 allegations contending that other individuals were involved in the physical altercation.

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  power "made possible only because [he or she] is clothed with the authority of
  state law." United States v. Classic, 313 U.S. 299,326 U Q4n! see also United States v. Walsh,

  194 F.3d 37,50(2d Cir. 1999)("The Supreme Court has broadly interpreted the color oflaw
  requirement, concluding that misuse of power,possessed by virtue of state law and made
  possible only because the wrongdoer is clothed with the authority of state law, is action taken
  under color of state law."(alteration adopted)(citation and intemal quotation marks omitted)).
         Here,Plaintiff alleges that "the level offorce employed by defendant Jacobs was

  excessive, objectively unreasonable and otherwise in violation of Cooper's constitutional rights."
  (FAC H 77.) Jacobs moves to dismiss Plaintiffs excessive force claim by contending that
  Plaintifffailed to plead facts that could plausibly allege Jacobs acted under color of state law at
  the time ofthe physical altercation. (Jacobs Mem. at 5-9.) The court agrees.

         In the context of oJBf-duty police officers,"[cjourts have had frequent occasion to interpret
  the term 'color oflaw' for the purposes of§ 1983 actions, and it is by now axiomatic that 'under
  "color" oflaw means under "pretense" oflaw' and that 'acts of officers in the ambit oftheir
  personal pursuits are plainly excluded.'" Pitchell v. Callan, 13 F.3d 545,547-48(2d Cir. 1994)
  (quoting Screws v. United States. 325 U.S. 91,111 (1945)). "[Tjhere is no bright line test for
  distinguishing 'personal pursuits' from activities taken under color oflaw." Id at 548. The
  relevant question is not whether the officer "was on or off duty when the challenged incident
  occurred," but whether the officer "albeit off-duty, nonetheless invokes the real or apparent

  power ofthe police department" or "perform[s] duties prescribed generally for police
  officers." Id.: see also Jocks v. Tavemier. 316 F.3d 128, 134(2d Cir. 2003)("We have no doubt

  that when an officer identifies himself as a police officer and uses his service pistol, he acts

  under color oflaw."). In analyzing whether an off-duty police officer acted under the color of


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  law, courts consider whether the officer:(1) was off-duty;(2)identified himself as an officer of

  the law;(3)was in uniform;(4) was authorized to make an arrest at the time;(5) was carrymg

  handcuffs;(6) was carrying any weapons;(7)flashed a police badge; and(8)placed the plaintiff
  under arrest or otherwise detained him. Cotz v. Mastroeni. 476 F. Supp. 2d 332,372(S.D.N.Y.

  2007).

           Here, while Plaintiff alleges that Jacobs was "acting under color ofstate law" and "in his
  capacity as a Police Officer," Plaintiff(or the FAC)fails to set forth any facts that render this
  assertion as plausible. (FAC fl 72-74.) While Plaintiff does allege that he felt Jacobs holding a
  firearm during the altercation, he does not allege any facts to suggest that this made Plaintiff
  believe Jacobs was officer. (Id,^ 25.) Indeed,the mere act of possessing a firearm does not

  render an off-duty police officer's actions as having occurred "under color oflaw." See, e.g,

  Pitchelk 13 F.3d at 548; Bonsienore v. Citv ofNew York,683 F.2d 635,639(2d Cir. 1982).

           In fact, PlaintilBf alleges that "Jacobs concealed the fact that he [was] a law enforcement

  officer and did not display anything that could identify him as a law enforcement officer." (FAC
  K 25.) Plaintifffurther states that he was not aware that Jacobs was a police officer until he
  witnessed Jacobs display a badge and heard him say to the responding officer,"I'm on the job."
  (Id. nil 36-38.) At no point during the altercation, therefore, does Plaintiff allege that Jacobs(1)
  was on-duty at the time ofthe altercation;(2)identified himself as an officer ofthe law;(3)wore
  a uniform or carried handcuffs;(4)revealed a police badge; or(5) placed plaintiff under arrest or

  otherwise detained him. See Cotz. 476 F. Supp. at 372.

           In response to Jacobs's argument that Plaintiff failed to allege any facts that Jacobs was
   acting under color ofstate during the physical altercation. Plaintiff wholesale lifts the text of
  judicial opinions that cite relevant standards, but Plaintifffails to engage in any analysis


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  whatsoever as to the facts at hand. (PL Opp'n at 18-22.) In fact, in McNamara v. City of New

  York,No. 06-CV-5585(LTS),2009 WL 735135, at *3(S.D.N.Y. Mar. 20,2009), a case which
  Plaintiff copies entire sections from in his opposition papers,the court found that: "[N]o rational
  fact finder could determine that[Defendant] was acting under color of state law prior to the time

  he displayed his badge and gun and identified himself as a police officer. Thus, there is no
  predicate for liability under section 1983 or section 1988 for the physical altercation that
  occurred before [Defendant] identified himself as a police officer."(PL Opp'n at 21.) Similarly,
  Plaintiff does not allege to have been informed that Jacobs was a police officer until after the
  physical altercation, when he heard Jacobs tell the on-duty officers,"I'm on the job." (FAC H
  36.)

          It is simply not enough for Plaintiffto allege that Jacobs was "at all times relevant...
  acting under color of State law." (Iff H 14.) As the court in Stoecklev v. Citv ofNew York,700
  F. Supp. 2d 489(S.D.N.Y. 2010)aptly stated,"these are assertions oflegal conclusions rather
  than offact...[and the court is] not obliged to accept them as true for purposes ofthe motion."
  Iff at 499. In Stoecklev, the court found that the defendant was not acting under color of state

  law because there was "no allegation that [the defendant] was in uniform,that he was on duty, or
  that he exhibited a badge or identified himself as a police officer during the entire course ofthe
  incident," and plaintiffs first learned that the defendant was a police officer "after the incident
   had concluded and the officers who responded to the 911 call came out ofthe grocery store into
   which [the defendant] had gone and said to the plaintiffs,'Don't worry, he's a cop.'" Iff at 493.
   The same analysis apphes here.

          The court fmds that Plaintiff has failed to allege that Jacobs was acting under color of

   state law for purposes of Plaintiffs excessive force claim. There is thus no predicate for liability


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  under § 1983 for the physical altercation that occurred, and Plaintiffs excessive force claim is

  dismissed against all Individual Defendants.

         D.      FlamtifTs False Arrest Claim

         In analyzing a claim for false arrest under § 1983,"federal courts look to the law ofthe

  state in which the arrest occurred." Hovos v. Citv of New York,999 F. Supp. 2d 375,385

  (E.D.N.Y. 2013). To prevail on a claim for false arrest in New York, a plaintiff must plead that

  "(1)the defendant intended to confine [the plaintiff],(2)the plaintiff was conscious of the

  confinement,(3)the plaintiff did not consent to the confinement, and(4)the confinement was

  not otherwise privileged." Singer v. Fulton Ctv. Sheriff. 63 F.3d 110,118(2d Cir. 1995)

  (alteration in original)(quoting Broughton v. State. 335 N.E.2d 310,314(N.Y. 1975)). "The

  existence of probable cause to arrest constitutes justification and is a complete defense to an

  action for false arrest." Wevant v. Okst, 101 F.3d 845,852(2d Cir. 1996)(citation and intemal

  quotation marks omitted). Probable cause to arrest exists where an officer has "knowledge or

  reasonably trustworthy information sufficient to warrant a person of reasonable caution in the

  beliefthat an offense has been committed by the person to be arrested." Martinez v. Simonetti,

  202 F.3d 625,634(2d Cir. 2000)(quoting Singer,63 F.3d at 119). "The inquiry is limited

  to 'whether the facts known by the arresting officer at the time ofthe arrest objectively provided

  probable cause to arrest.'" Jaeglv v. Couch,439 F.3d 149, 153(2d Cir. 2006)(Sotomayor, J.)).
          The court finds that there was probable cause for Plaintiff's arrest. Accordingly,the

  court dismisses Plaintiffs § 1983 false arrest claim against all Individual Defendants for the

  reasons provided below.

          When information is received firom a putative victim or an eyewitness, probable cause

  exists unless the circumstances raise doubt as to the person's veracity. Singer,63 F.3d at 119.


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  "The veracity of citizen complaints who are the victims ofthe very crime they report to the
  police is assumed," Miloslavskv v. AES Eng'g Soc'v Inc., 808 F. Supp. 351, 355 (S.D.N.Y.
  1992),         993 F.2d 1534(2d Cir. 1993).

           In his complaint. Plaintiff alleges that he witnessed Jacobs, O'Connor and the other John
  Doe defendants "talking to the other officers from the other two [police] vehicles" prior to his
  arrest. (FAG 135.) Plaintiff contends that he was arrested because of"Jacob[s]'s false
  allegations [and] the other John Doe Police officers['] statements and or omissions." (FAG ^
  52.)^ Merely stating in a conclusory fashion that Jacobs made "false allegations" is not enough
  to plausibly allege that Schrell, the arresting officer according to the FAG,had any reason to
  doubt the veracity of Jacobs' statements. In Lowerv v. Gitv of New York,No. lO-GV-7284
  (KBF),2014 WL 2567104(S.D.N.Y. June 6, 2014)the plaintiff similarly alleged,"that her arrest
  was without legal justification and/or probable cause,that her indictment was the product
  offalse allegations, and that the investigation into her conduct was otherwise insufficient and
  'tainted by official misconduct.'" Id at *4(internal quotation marks and citation omitted).
  There,the court found that,"[t]hese legal conclusions and bare references to the elements of a
  claim, absent any specific factual allegations, cannot survive dismissal pursuant to Rule 12(b)
  (6)." Id, Such conclusory allegations, without any facts suggesting that the arresting officer had
  any reason to doubt the veracity ofthe statements being made,is simply not enough to establish
  that Schrell lacked probable cause to arrest Plaintiff.

           Moreover, although Plaintiff alleges that a "bystander, and a witness to the events,

  [informed the NYPD officers] that Gooper had just[been] beaten badly by Jacobs and
  O'Gonnor"(FAG f 34), such conflicting reports at the time of arrest does not mean the arresting

  2 The Complaint Report notes that the officer on the scene was informed that Plaintiff had struck Jacobs with a
  closed first on the right side of his face, causing swelling and pain. (See Complaint Report at 2.)
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  officer lacked probable cause. See Wieder v. City ofNew York,569 F. App'x 28, 29(2d Cir.

  2014); Curlev v. Village of Suffern. 268 F.3d 65,70(2d Cir. 2001)("Plaintiff argues... that the

  conflicting accounts... should have prompted a more thorough investigation. But, we have

  found probable cause where a police officer was presented with different stories from an alleged
  victim and the arrestee."); Ricciuti v. N.Y.C. Transit Auth.. 124 F.3d 123,128(2d Cir. 1997)

  ("Once a police officer has a reasonable basis for believing there is probable cause, he is not

  required to explore and eliminate every theoretically plausible claim ofinnocence before making
  an arrest"); see also Russell v. Eighty Fourth Precinct No.03-CV-6179(JBW),2004 WL

  2504646, at *3(E.D.N.Y. Nov. 8,2004)("An arresting officer is not ajudge and cannot be

  expected to hold a trial at the scene of an apparent crime to determine credibility of witnesses.").^
          In objecting to Defendants' motion to dismiss on this claim. Plaintiff relies principally on
  Rivera V. Baiter Sales Co.. No. 14-CV-1205(LTS),2014 WL 6784384(S.D.N.Y. Dec. 1, 2014),

  a case that addresses when a private defendant may be held liable for making false statements

  that could lead to an arrest. (PI. Opp'n at 16.) In contrast, here. Plaintiff was arrested by an

  officer based on the statements made by an iadividual involved in the physical altercation. These

  facts establish probable cause for Plaintiffs arrest for assault with intent to cause physical injury.
  (See Arrest Report); See also N.Y.Penal Law § 120.00(1). Since no federal civil rights claim for
  false arrest can exist where the arresting officer had probable cause. Singer,63 F.3d at

  118,PlaiatifFs false arrest claim against all Individual Defendants is dismissed.



  ^ The City Defendants further state that probable cause existed because Plaintiff was found to be in possession of
  marijuana. (City ofNew York Mot. at 8.) Defendants rely on Jaeglv v. Couch.439 F.3d 149(2d Cir. 2006)wherein
  the Second Circuit concluded that:"a claim for false arrest turns only on whether probable cause existed to arrest a
  defendant, and that it is not relevant whether probable cause existed with respect to each individual charge, or,
  indeed, any charge actually invoked by the arresting officer at the time of arrest. Stated differently, when faced with
  a claim for false arrest, we focus on the validity ofthe arrest, and not on the validity ofeach charge." Id at 154.
  Because Schrell had probable cause to arrest Plaintifffollowing the physical altercation, this court need not consider
  whether probable cause also existed in light ofPlaiatifFs possession of marijuana.
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         E.      Plaintiffs Malicious Prosecution Claim

         To state a claim for malicious prosecution under § 1983, a plaintiff must allege: "(1)the

  initiation or continuation ofa criminal proceeding against plaintiff;(2)termination ofthe

  proceeding in plaintiff's favor;(3)lack of probable cause for commencing the proceeding; and
  (4)actual malice as a motivation for Defendant's actions." Manganiello v. Citv ofNew York,
  612 F.3d 149,161 (2d Cir. 2010)(citation and quotation marks omitted). "Since the four

  elements are in the conjunctive, the failure to establish any one ofthe four is fatal to the

  plaintiff's claim." Allen v. Antal, 12-CV-8024(NSR),2014 WL 2526977, at *16(S.D.N.Y. Mar.
  13,2014). A plaintiff bears a heavy burden with respect to each ofthe essential elements of a

  malicious prosecution claim. See Rothstein v. Carriere. 373 F.3d 275,282(2d Cir. 2004).

         Like a claim for false arrest,"the existence of probable cause is a complete defense to a

  claim of malicious prosecution in New York." Savino v. Citv ofNew York, 331 F.3d 63,72(2d

  Cir. 2003). However,the existence of probable cause at the time of arrest"may not be

  dispositive ofthe issue as to the malicious prosecution claim, because ...'evidence could later
  surface which would eliminate that probable cause.'" Mitchell v. Countv ofNassau, 786 F.

  Supp. 2d 545,562(E.D.N.Y. 2011)(quoting Lowth v. Town of Cheektowaga, 82 F.3d 563, 571

  (2d Cir. 1996)). Nevertheless,"in the absence of exculpatory facts which became known after an
  arrest, probable cause to arrest is a complete defense to a claim of malicious

  prosecution." D'Angelo v. Kirschner. 288 App'x 724,726(2d Cir. 2008)(summary order); s^

  also Peterson v. Regina, No. lO-CV-1692(JSR), 2013 WL 1294594, at *10(S.D.N.Y. Mar. 28,

  2013)(probable cause for malicious prosecution claim is assessed at time judicial proceeding

  commenced, not at time of warrantless arrest).




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         Plaintiff does not allege any new, exculpatory facts to suggest further information was

  gathered from the time of his arrest to the time of his prosecution to establish Defendants lacked

  probable cause. Plaintiffs complaint, which references the Criminal Court Complaint, states

  that the documents filed in that matter contain "false and peijurious allegations by Jacobs,

  including among others, that Cooper purportedly punched Jacobs in the face with a closed fist

  which caused injuries to Jacobs face and broke the sunglasses that Jacobs was wearing." (FAC K

  58.) But Plaintiff gives no plausible explanation as to why the prosecutor would believe that

  such an affidavit was false, other than to say the swom allegations were filed by Jacobs "to

  deceive the Court and to conceal the above mentioned acts of brutality and abuse of authority,

  and to otherwise avoid punishment for said acts by the NYPD or other investigative bodies." (Iff

  K 59.) Plaintifffurther alleges that "Defendants ignored exculpatory evidence in the

  continuation of criminal proceedings against Cooper." (Iff ^ 157.)

          Merely saying something is false is not enough to plausibly make out a claim for

  malicious prosecution.       Crown Heights Shomrim Volunteer Safety Patrol. Inc. v. Citv of

  New York. No. ll-CV-329(KAM),2014 WL 4804869, at *10(E.D.N.Y. Sept. 25,2014)

  (finding that the complaint did not sufficiently articulate what false information motivated the

  prosecution); Abdul-Rahman v. Citv ofNew York.No. lO-CV-2778(ILG),2012 WL 1077762,

  at *10(E.D.N.Y. Mar. 30, 2012)(dismissing malicious prosecution claim where plaintiff alleged
  that defendant officers fabricated false statements against him but did not allege what the false

  statements were); see also Iqbal. 556 U.S. 679("[W]here the well-pleaded facts do not permit the

  court to infer more than the mere possibility of misconduct, the complaint has alleged—^but it has

  not *show[n]'—^that the pleader is entitled to relief.'"(quoting Fed. R. Civ. P. 8(a)(2))). Given

  that Plaintiff failed to plausibly allege any intervening facts, probable cause both existed at the


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  time ofPlaintiffs arrest and continued to exist at the time of the prosecution. Therefore, this

  court dismisses the malicious prosecution claim as to all Individual Defendants.

           F.       Plaintiffs Conspiracy Claim

           In addition to the substantive § 1983 claims ofexcessive force, false arrest, and malicious

  prosecution. Plaintiff also alleges that the Defendants,including O'Connor,conspired to violate
  his constitutional rights pursuant to § 1983."* In order to bring a § 1983 conspiracy claim, a
  plaintiff must show "(1)an agreement between two or more state actors or between a state actor

  and private entity;(2)to act in concert to inflict an unconstitutional injury; and(3)an overt act

  done in furtherance ofthat goal causing damages." Pangbum v. Culbertson,200 F.3d 65, 72(2d

  Cir. 1999). A conspiracy claim must contain more than "conclusory, vague or general

  allegations of conspiracy to deprive a person of constitutional rights." Boddie v. Schmeder, 105

  F.3d 857(2d Cir. 1997)(quotation marks and citation omitted).

           While substantive claims under § 1983 are normally brought only against state officials,

  "a § 1983 claim may be proved by showing that a person acting under color of state law...
  collaborated or conspired with a private person ...to deprive the plaintiff of a constitutional

  right." Fries v. Bames.618 F.2d 988,990(2d Cir. 1980)(citing Adickes v. S. H. Kress &

  Co.. 398 U.S. 144, 152(1970)); see also Am.Broad. Cos. v. Cuomo,570 F.2d 1080,1083(2d

  Cir. 1977)("[A]n ordinary citizen who conspires with a state agent to violate the civil rights of a
  plaintiff is equally liable ....").

           "Section 1983 is only a grant of a right of action; the substantive right giving rise to the

  action must come from another source." Id Therefore, Plaintiffs conspiracy claim fails if he



  "Plaintiff's § 1983 claim against O'Connor is dismissed for the independent reason that the FAC fails to set forth
  any facts to suggest that O'Connor conspired with his co-defendants to violate Plaintiffs civil rights. None ofthe
  allegations that pertain to Plaintiff's conspiracy claim allege any facts that support the claim that O'Connor played
  any part in the alleged conspiracy. fCf. FAC 94-101.) See Wright. 21 F.3d at 501.
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  cannot prove the "sine qua non of a § 1983 action: the violation of a federal right." Id (citing

  Adickes. 398 U.S. at 150.) Since Plaintiff has not adequately pleaded § 1983 claims for false

  arrest, malicious prosecution, or excessive force, he may not maintain a § 1983 cause of action

  for conspiracy. See Singer, 63 F.3d at 119. Having failed to allege that the Individual

  Defendants violated his constitutional rights, Plaintifffails to adequately plead conspiracy arising

  under § 1983 against the Individual Defendants.

         G.      Plaintiffs Supervisory Liability and Municipal Liability Claims

         In Count III and Count IV ofthe FAC,Plaintiff brings § 1983 claims for supervisory

  liability and municipal liability against all defendants except for O'Connor. The City Defendants
  move to dismiss Plaintiff's supervisory and municipal liability claims. (City of New York Mem.

  at 16-22.) Plaintiff, however,failed to oppose the dismissal ofthese claims in his opposition

  papers. ("See PI. Opp'n.) Consequently, because Plaintiff did not address the City Defendants'
  motion with regard to these claims, his arguments to the contrary are deemed abandoned and

  these claims are hereby dismissed. See Martinez v. Sanders, No.02-CV-5624(RCC),2004 WL

  1234041, at '^3 (S.D.N.Y. June 3, 2004)(finding that the plaintiffs failure to oppose dismissal of
  certain claims enabled the court to deem them abandoned); Bonilla v. Smithfield Assocs.

  LLC. No.09-CV-1549(DC),2009 WL 4457304, at *4(S.D.N.Y. Dec. 4, 2009)(holding that,

  because the plaintiff"fail[ed] to respond to the remaining two arguments" for dismissing certain
  ofthe claims, he had "effectively abandoned" those claims).




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          The court also concludes that PlaintijEfs supervisory and municipal liability claims must

  be dismissed in light ofthe court's dismissal of Plaintiff's § 1983 claims for excessive force,

  false arrest, and malicious prosecution. See Segal v. Citv ofNew York,459 F.3d 207,219(2d

  Cir. 2006)(citations omitted)(Monell v. Dep't of Soc. Servs. of Citv ofNew York,436 U.S. 658

  (1978)"does not provide a separate cause of action for the failure by the government to train its

  employees; it extends liability to a municipal organization where that organization's failure to

  train, or the policies or customs that it has sanctioned, led to an independent constitutional

  violation      Because the district court properly found no underlying constitutional violation, its

  decision not to address the municipal defendants' liability under Monell was entirely correct.");

  Garcia-Garcia v. Citv ofNew York. No. 12-CV-1302(CM),2013 WL 3832730, at *10

  (S.D.N.Y. July 22,2013)("[W]here there is no underlying deprivation ofrights, there can be no

  'supervisory liability.'"); Elek v. Incorporated Village of Monroe. 815 F. Supp. 2d 801,808

  (S.D.N.Y. 2011)("[B]ecause Plaintiff has not established any underlying constitutional

  violation, she cannot state a claim for § 1983 supervisor liabiUty.").

          H.     Supplemental Jurisdiction

          Because the court has dismissed all federal-law claims asserted by Plaintiff, it declines to

  exercise supplemental jurisdiction over any remaining state-law claims that may have been

  raised in Plaintiffs complaint. The district court has broad discretion as to whether to exercise

  its supplementaljurisdiction over state law claims where all federal claims have been dismissed

  from a suit.     28 U.S.C. § 1367(c). In making this decision, the court should balance the

  traditional "values ofjudicial economy, convenience, fairness, and comity." Carnegie-Mellon

  Univ. V. Cohilk 484 U.S. 343, 350(1988). As a general rule,"when the federal claims are

  dismissed the 'state claims should be dismissed as well.'" In re Merrill Lvnch Ltd. P'ships



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  Litig., 154 F.3d 56,61 (2d Cir. 1998) rquoting United Mine Workers of Am. v. Gibbs,383 U.S.

  715,726 (^1966")^: see also Kolari v. N.Y. Presbyterian Hosp.. 455 F.3d 118, 122(2d Cir.

  2006)("[I]n the usual case in which all federal-law claims are eliminated before trial, the balance
  offactors... will point toward declining to exercise supplemental jurisdiction over the

  remaining state-law claims."(quoting Cohill. 484 U.S. at 350 n.7)(alteration in original)).

         Here, consideration ofthe Cohill factors does not upset the presumption against the

  exercise ofsupplementaljurisdiction in this case. First, there is no gain in judicial economy to

  be achieved by retaining the claims, as this court has not yet considered any state-law claims

  raised by Plaintiff. Second, none ofthe parties would be placed at a disadvantage by proceeding
  in state court. Finally,"given that only state-law issues remain in this case, comity dictates that

  the [cjourt decliue to decide those disputes." Jackson v. Barden, No. 12-CV-1069(KPF),2018
  WL 340014, at *21 (S.D.N.Y. Jan. 8,2018). The court sees no reason to depart from this general

  rule and, accordingly, declines to exercise supplemental jurisdiction over Plaintiffs remaining
  state law claims.




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 IV.    CONCLUSION


        For the foregoing reasons, the City Defendants' motion to dismiss(Dkt. 56)is

  GRANTED,Jacobs's motion to dismiss(Dkt. 54)is GRANTED,and O'Connor's motion to

 dismiss(Dkt. 55)is GRANTED. Plaintiffs amended complaint is hereby dismissed without

 prejudice. The Clerk of Court is respectfully DIRECTED to enter judgment for Defendants and

 close the case.




        SO ORDERED.
                                                                   s/Nicholas G. Garaufis

 Dated: Brooklyn,New York                                                   r. GARAUFIsd
                                                                  NfCHOLAS G.  GARAUFISD
        September     2018                                        United States District Judge




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